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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI

RENEE TERESA GOELLNER-GRANT,                         )
KYLE D. GRANT and ALEXANDER                          )
GOELLNER                                             )
                                                     )
       Plaintiffs.                                   )
                                                     )       Cause No. 4:18-cv-342-SNLJ
VS.                                                  )
                                                     )
JLG INDUSTRIES, INC. and                             )
BLUELINE RENTAL, LLC                                 )
                                                     )
       Defendants.                                   )

         DEFENDANT JLG INDUSTRIES, INC.’S MEMORANDUM OF LAW
          IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FIRST
        AMENDED COMPLAINT FOR LACK OF PERSONAL JURISDICTION

       Defendant JLG Industries, Inc. (“JLG”) provides the following memorandum in support of

its motion to dismiss for lack of personal jurisdiction and would respectfully show the Court the

following:

                                   Summary of the Argument

       Plaintiffs have not and cannot establish a prima facie case that JLG is subject to the

jurisdiction of a court in Missouri. General jurisdiction over JLG does not exist because JLG is

not incorporated in Missouri, does not have its principal place of business in Missouri, and does

not have such continuous and systematic contacts with Missouri to render it “essentially at home”

in Missouri. Specific jurisdiction over JLG does not exist because none of JLG’s alleged conduct

arises from or relates to any contacts with Missouri. As such, this Court should dismiss Plaintiffs’

First Amended Complaint against JLG for lack of personal jurisdiction.
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                                       Factual Background

       Plaintiffs allege that on April 30, 2015, Randall Lee Grant was using a JLG E450AJ lift to

replace light bulbs in a parking garage of the West County Center when he became pinned between

the ceiling of the parking garage and the lift. See Plaintiffs’ First Amended Complaint, ¶ 12. The

JLG lift referenced by Plaintiffs has been identified as a 2002 E450AJ bearing the serial number

0300066578 (“the Lift”). See Exhibit A, Affidavit of Brent M. Hoover, ¶ 5. Plaintiffs allege that

this Court has jurisdiction over JLG based on Missouri’s long-arm statute because JLG transacted

business within Missouri, committed a tort within Missouri, availed itself of business opportunities

in Missouri, advertised the availability of parts, services, and information within Missouri, shipped

parts, products, and literature into Missouri, and received money from businesses and individuals

within Missouri. See Plaintiffs’ First Amended Complaint, ¶ 8.

       JLG is a corporation organized under the laws of Pennsylvania with its principal place of

business in McConnellsburg, Pennsylvania. See Exhibit A, ¶ 2. JLG is not an entity registered to

do business with the Missouri Secretary of State. See Exhibit A, ¶ 3. JLG has no manufacturing

or sales facilities in Missouri, does not own or lease any real property in Missouri, does not have

a Missouri address or telephone number, does not pay Missouri taxes, has no bank accounts in

Missouri, and has no employees who work in Missouri. See Exhibit A, ¶ 4.

       JLG did not ship the Lift to a company in Missouri. See Exhibit A, ¶ 6. JLG sold the Lift

on or about April 23, 2002, to Midwest Aerials & Equip., Inc., 3357 Brinkerhoff, Kansas City,

Kansas 66115. See Exhibit A, ¶ 6. The first delivery warranty registration for the Lift was returned

by Midwest Aerials & Equip., Inc., 3357 Brinkerhoff, Kansas City, Kansas 66115. See Exhibit A,

¶ 7. JLG played no role in the transfer of the Lift from its original owner or from its original

location during the thirteen years that passed between the April 23, 2002, shipment of the Lift to




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Midwest Aerials & Equip., Inc. and the April 30, 2015 incident in Des Peres, Missouri. See Exhibit

A, ¶ 8.

                                 Legal Argument and Authorities

   A. This Court does not have personal jurisdiction over JLG

          It has long been established that the Due Process Clause of the Fourteenth Amendment

limits the personal jurisdiction of state courts over non-resident defendants. Bristol-Myers Squibb

Co. v. Superior Court of California, San Francisco Cty., 137 S.Ct. 1773, 1779 (2017) (citing

Daimler AG v. Bauman, 571 U.S. 117, 124–31, 134 S.Ct. 746, 753–57 (2014)); International Shoe

Co. v. Washington, 326 U.S. 310, 316–317, 66 S.Ct. 154 (1945). To have personal jurisdiction

over a non-resident defendant, the defendant must have certain minimum contacts with the forum

state such that the maintenance of the suit does not offend traditional notions of fair play and

substantial justice. International Shoe, 326 U.S. at 310.

          “To survive a motion to dismiss for lack of personal jurisdiction, a plaintiff must plead

sufficient facts to support a reasonable inference that the defendant can be subjected to jurisdiction

within the state.” Creative Calling Sols., Inc. v. LF Beauty Ltd., 799 F.3d 975, 979 (8th Cir. 2015)

(quoting K–V Pharm. Co. v. J. Uriach & CIA, S.A., 648 F.3d 588, 591–92 (8th Cir. 2011)) (internal

quotation marks omitted). “The evidence must be viewed in a light most favorable to the plaintiff;

however, the burden does not shift to the party challenging jurisdiction.” Fastpath, Inc. v. Arbela

Techs. Corp., 760 F.3d 816, 820 (8th Cir. 2014).

          Personal jurisdiction may be either general or specific. Bristol-Myers, 137 S.Ct. at 1780.

General jurisdiction exists when a defendant’s contacts with the forum state are so continuous and

systematic as to render it essentially “at home” in the forum state. Daimler, 571 U.S at 136–38.

Specific jurisdiction refers to jurisdiction over causes of action arising from or related to a




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defendant's contact within the forum state. Bell Paper Box, Inc. v. U.S. Kids, Inc., 22 F.3d 816,

819 (8th Cir. 1994).

            1. General jurisdiction over JLG does not exist because JLG does not have
               sufficient continuous and systematic contacts with Missouri

        “The Due Process Clause permits the exercise of general jurisdiction to hear ‘any and all

claims against’ a defendant if its ‘affiliations with the State are so continuous and systematic as to

render [it] essentially at home in the forum State.’” Creative Calling Sols., Inc. v. LF Beauty Ltd.,

799 F.3d 975, 979 (8th Cir. 2015) (quoting Daimler, 571 U.S. at 139); see also Mitchell v. Eli Lilly

& Co., 159 F. Supp. 3d 967, 973 (E.D. Mo. 2016). “Continuous activity of some sorts within a

state is not enough to support the demand that the corporation be amenable to suits unrelated to

that activity.” Daimler, 571 U.S. at 132. As noted by the Supreme Court, to “approve the exercise

of general jurisdiction in every State in which a corporation engages in a substantial, continuous,

and systematic course of business . . . is unacceptably grasping.” Id. at 138 (quotation marks and

citation omitted). “The general jurisdiction inquiry does not focus solely on the magnitude of the

defendant’s in-state contacts;” rather, it “calls for an appraisal of a corporation’s activities in their

entirety.” Id. at 139, n. 20 (internal quotation marks and citation omitted). “A corporation that

operates in many places can scarcely be deemed at home in all of them.” Id. “Only a limited set of

affiliations with a forum will render a defendant amenable to general jurisdiction in that State.”

Bristol-Myers, 137 S. Ct. at 1780 (quoting Daimler, 134 S.Ct. at 760). Moreover, “the place of

incorporation and principal place of business are paradigm bases for general jurisdiction.” Mitchell

v. Eli Lilly and Co., 159 F.Supp. 3d 967, 973 (E.D. Mo. 2016) (citing Daimler, 517 U.S. at 137).

        JLG is not incorporated in the state of Missouri; nor does it maintain its principal place of

business in Missouri. See Exhibit A, ¶ 2. Additionally, JLG is not registered with the Missouri

Secretary of State. See Exhibit A, ¶ 3. Moreover, JLG has no manufacturing or sales facilities in



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Missouri, does not own or lease any real property in Missouri, does not have a Missouri address

or telephone number, does not pay Missouri taxes, has no bank accounts in Missouri, and has no

employees who work in Missouri. See Exhibit A, ¶ 4. As such, general jurisdiction over JLG does

not exist. See Daimler, 517 U.S. 117 (concluding that the sale of products in the forum state does

not create such continuous and systematic contacts as to support general jurisdiction); see also,

BNSF Ry. Co. v. Tyrrell, 137 S. Ct. 1549, 1559, 198 L. Ed. 2d 36 (2017) (concluding that having

2,000 miles of railroad and more than 2,000 employees in the forum state does not create such

continuous and systematic contacts as to support general jurisdiction). Accordingly, Plaintiff’s

jurisdictional allegations, even if proven true, cannot meet the threshold requirements to support

this Court’s exercise of general jurisdiction over JLG.

           2. Specific jurisdiction over JLG does not exist because Plaintiffs’ claims do not
              arise from or relate to JLG’s contacts with Missouri

       Specific jurisdiction refers to jurisdiction over causes of action arising from or relating to

a defendant's actions within the forum state. Bell Paper Box, Inc. v. U.S. Kids, Inc., 22 F.3d 816,

819 (8th Cir. 1994). In other words, “specific jurisdiction is confined to adjudication of issues

deriving from, or connected with, the very controversy that establishes jurisdiction.” Bristol-

Myers, 137 S. Ct. at 1780 (internal citation omitted).

       A court sitting in diversity may exercise specific jurisdiction only if authorized by the

forum state's long-arm statute and permitted by the Due Process Clause of the Fourteenth

Amendment. Dairy Farmers of America, Inc. v. Bassett & Walker Int'l, Inc., 702 F.3d 472, 475

(8th Cir. 2012). The two requirements essentially collapse into one, as Missouri interprets its long-

arm statute in accordance with the limits permitted under the Due Process Clause. Regal Beloit

Am., Inc. v. Broad Ocean Motor LLC, 4:16-CV-00111-JCH, 2016 WL 3549624, at *2 (E.D. Mo.

June 30, 2016) (citing State ex rel. K-Mart Corp. v. Hollinger, 986 S.W.2d 165, 168 (Mo. banc.



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1999)). Missouri's long-arm statute authorizes specific jurisdiction over defendants who, among

other things, transact business or commit a tort within the State. See Mo. Rev. Stat. § 506.500.

“Only causes of action arising from acts enumerated in [the statute] may be asserted against a

defendant in an action in which jurisdiction over him is based upon” the long-arm statute. Mo.

Rev. Stat. § 506.500.3.

         The recent Supreme Court decision in Bristol-Myers reinforced the long-standing

requirement that a plaintiff’s claims must “arise out of or result from” the defendant’s conduct in

order for specific jurisdiction to be found, even if the evidence reveals that the defendant

“purposefully availed” itself of the privilege of conducting activities within the forum state. In

Bristol-Myers, the defendant “purposefully availed” itself of the benefits of the forum state and its

pharmaceutical market by employing over 400 people in the forum state, maintaining half a dozen

research facilities in the forum state, contracting with a distributor based in the forum state, and

selling nearly $1 billion of the product at issue in the forum state; however, the Supreme Court

held that the defendant was not subject to specific jurisdiction because there was not an “adequate

link” between the forum state and the plaintiffs’ claims, who were not residents of the forum state.

137 S. Ct. at 1776-78 (“What is needed—and what is missing here—is a connection between the

forum and the specific claims at issue”).

         JLG is not subject to specific jurisdiction in Missouri because Plaintiffs’ claims against it

do not arise from or relate to JLG’s actions within Missouri. Here, Plaintiffs allege that this Court

has jurisdiction over JLG based on Missouri’s long-arm statute because JLG transacted business

within Missouri and/or committed a tort within Missouri. 1                     See Plaintiffs’ Complaint, ¶ 9.


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  Plaintiffs also allege jurisdiction under the long-arm statute because JLG availed itself of business opportunities in
Missouri, advertised the availability of parts, services, and information within Missouri, shipped parts, products, and
literature into Missouri, and received money from businesses and individuals within Missouri. See Plaintiffs’
Complaint, ¶ 8. However, Missouri’s long-arm statute does not specifically enumerate categories for availing of


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However, JLG did not ship the Lift to a company in Missouri. See Exhibit A, ¶ 6. JLG shipped the

Lift to Midwest Aerials & Equip., Inc., 3357 Brinkerhoff, Kansas City, Kansas 66115. See Exhibit

A, ¶ 6. The first delivery warranty registration for the Lift was returned by Midwest Aerials &

Equip., Inc., 3357 Brinkerhoff, Kansas City, Kansas 66115. See Exhibit A, ¶ 7. Moreover, JLG

had no control over the Lift after it sold and shipped it, and JLG played no role in the transfer of

the Lift from Kansas to Missouri. See Exhibit A, ¶ 8. Therefore, the presence of the Lift in

Missouri was due to events that were “random, fortuitous, or attenuated contact, or by the unilateral

activity of another party or third person.” Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475, 105

S.Ct. 2174, 2183 (1985). Because Plaintiffs’ claims do not arise from or relate to any action of

JLG committed in Missouri, specific jurisdiction does not exist. Accordingly, this Court should

dismiss Plaintiffs’ claims against JLG.

    B. The Court’s exercise of jurisdiction violates traditional notions of fair play and
       substantial justice

           Because JLG does not have sufficient minimum contacts with Missouri, this Court’s

exercise of jurisdiction over JLG would offend traditional notions of fair play and substantial

justice.

           If a defendant purposefully established minimum contacts with the forum State, these

contacts may be considered in light of other factors to determine whether the assertion of personal

jurisdiction would comport with fair play and substantial justice. International Shoe, 326 U.S., at

320, 66 S.Ct. at 160. Thus, in appropriate cases, courts may evaluate the burden on the defendant,

the forum State's interest in adjudicating the dispute, the plaintiff's interest in obtaining convenient

and effective relief, the interstate judicial system's interest in obtaining the most efficient resolution



business opportunities, advertising, shipping products/parts, or receiving money from businesses. See Mo. Rev. Stat.
§ 506.500.


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of controversies, and the shared interest of the several States in furthering fundamental substantive

social policies. Burger King, 471 U.S. at 476–77, 105 S.Ct. 2174. “These considerations

sometimes serve to establish the reasonableness of jurisdiction upon a lesser showing of minimum

contacts than would otherwise be required.”

       In Bristol-Myers, the Supreme Court noted that the “primary concern in determining

personal jurisdiction is the burden on the defendant.” 137 S.Ct. at 1780 (internal quotation marks

and citation omitted). “[R]estrictions on personal jurisdiction are more than a guarantee of

immunity from inconvenient or distant litigation. They are a consequence of territorial limitations

on the power of the respective States.” Id. (internal quotation marks and citation omitted). “[T]he

States retain many essential attributes of sovereignty, including, in particular, the sovereign power

to try causes in their courts.” Id. “The sovereignty of each State . . . implie[s] a limitation on the

sovereignty of all its sister States.” Id. “And at times, this federalism interest may be decisive. Id.

“Even if the defendant would suffer minimal or no inconvenience from being forced to litigate

before the tribunals of another State; even if the forum State has a strong interest in applying its

law to the controversy; even if the forum State is the most convenient location for litigation, the

Due Process Clause, acting as an instrument of interstate federalism, may sometimes act to divest

the State of its power to render a valid judgment.” Id.

       As previously noted, JLG is a Pennsylvania corporation with its principal place of business

in Pennsylvania. JLG shipped the Lift to Kansas and had no control over the location of the Lift

after its shipment on April 23, 2002. Under these facts, it would offend traditional notions of fair

play and justice to exercise jurisdiction over JLG. As such, this Court should dismiss Plaintiffs’

First Amended Complaint against JLG.




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                                          CONCLUSION

       This Court should grant Defendant JLG Industries, Inc.’s motion to dismiss for lack of

personal jurisdiction and dismiss all of Plaintiffs’ claims against it.



                                           Respectfully Submitted,


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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 11th day of May, 2018, a true and accurate
copy of the foregoing was filed electronically with the Clerk of Court to be served upon all counsel
of record via the court’s electronic filing system.

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